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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION


In re:                                                              Chapter 11

WELLPATH HOLDINGS, INC., et al.,1                                   Case No. 24-90533 (ARP)


                                       Debtors.                     Jointly Administered


                       DEBTORS’ MOTION FOR ENTRY
                  OF AN ORDER (I) APPROVING PROCEDURES
            FOR THE RETENTION AND COMPENSATION OF ORDINARY
          COURSE PROFESSIONALS AND (II) GRANTING RELATED RELIEF

    If you object to the relief requested, you must respond in writing. Unless otherwise
    directed by the court, you must file your response electronically at
    https://ecf.txsb.uscourts.gov/ within twenty-one days from the date this motion was
    filed. If you do not have electronic filing privileges, you must file a written objection
    that is actually received by the clerk within twenty-one days from the date this motion
    was filed. Otherwise, the Court may treat the pleading as unopposed and grant the
    relief requested.

         The above-captioned debtors and debtors in possession (collectively, the “Debtors”)

respectfully state the following in support of this motion (this “Motion”):

                                               Relief Requested

         1.      By this Motion, and pursuant to sections 105, 327, 328, and 330 of title 11 of

the United States Code (the “Bankruptcy Code”) and rule 2014(a) of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”), the Debtors seek entry of an order, substantially

in the form annexed hereto (the “Order”), approving procedures for the retention and compensation

of certain professionals that the Debtors employ in the ordinary course of business (collectively,



1
    A complete list of the Debtors (as defined below) in these chapter 11 cases may be obtained on the website of
    the Debtors’ claims and noticing agent at https://dm.epiq11.com/Wellpath. The Debtors’ service address for these
    chapter 11 cases is 3340 Perimeter Hill Drive, Nashville, Tennessee 37211.
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the “Ordinary Course Professionals”), without the submission of separate retention applications or

the entry of separate retention orders for each such Ordinary Course Professional.

                                         Jurisdiction and Venue

          2.       The United States Bankruptcy Court for the Southern District of Texas

(the “Court”) has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and

the Order of Reference to Bankruptcy Judges, General Order 2012-6 (S.D. Tex. May 24, 2012)

(Hinojosa, C.J.).

          3.       This matter is a core proceeding pursuant to 28 U.S.C. § 157(b). In addition,

the Debtors confirm their consent to the entry of a final order by the Court in connection with

this Motion to the extent that it is later determined that the Court, absent consent of the parties,

cannot enter a final order or judgment in connection herewith consistent with Article III of

the United States Constitution.

          4.       Venue of these chapter 11 cases and related proceedings is proper pursuant to

28 U.S.C. §§ 1408 and 1409.

                                                  Background

          5.       Wellpath is the premier provider of localized, high quality, compassionate care to

vulnerable patients in challenging clinical environments. Wellpath is the leading medical and

mental health services provider in correctional facilities, inpatient and residential treatment

facilities, forensic treatment facilities, and civil commitment centers. Headquartered in Nashville,

Tennessee with operations in approximately 420 facilities across 39 states, Wellpath provides

outsourced solutions to the correctional healthcare and behavioral healthcare industries. Wellpath

offers an array of healthcare services to its federal, state, and local government partners, including

on-site        medical   services,   telehealth    and       mental   health   programs,   and   pharmacy



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management. Wellpath employs more than 13,000 people and serves nearly 200,000 patients

daily.2

          6.      On the November 11, 2024 (the “Petition Date”), the Debtors filed voluntary

petitions for relief under chapter 11 of the Bankruptcy Code

          7.      The Debtors are operating their businesses and managing their properties as debtors

in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. No request for the

appointment of a trustee or examiner has been made in these chapter 11 cases and no statutory

committee has been appointed or designated.

          8.      These chapter 11 cases are being jointly administered for procedural purposes only

pursuant to Bankruptcy Rule 1015(b), rule 1015-1 of the Bankruptcy Local Rules for the United

States Bankruptcy Court for the Southern District of Texas (the “Bankruptcy Local Rules”), and

the Order (I) Directing Joint Administration of Chapter 11 Cases and (II) Granting Related Relief

[Docket No. 27].

B.        The Ordinary Course Professionals.

          9.      The Debtors employ various Ordinary Course Professionals to provide services in

matters unrelated to these chapter 11 cases. Attached hereto as Exhibit A, Exhibit B, and

Exhibit C are non-exclusive lists of Ordinary Course Professionals that the Debtors employ as of

the Petition Date (the “Tier 1 OCP List,” the “Tier 2 OCP List,” and the “Tier 3 OCP List,”

respectively, and together, the “Ordinary Course Professional Lists”).3 The Debtors seek to


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     Additional information about the Debtors’ businesses and affairs, capital structure, and prepetition indebtedness,
     and the events leading up to the Petition Date, can be found in the Declaration of Timothy J. Dragelin as Chief
     Restructuring Officer and Chief Financial Officer of Wellpath Holdings, Inc. and Certain of its Affiliates and
     Subsidiaries in Support of the Debtors’ Chapter 11 Petitions and First Day Pleadings (the “First Day
     Declaration”) [Docket No. 20]. Capitalized terms used herein but not otherwise defined shall have the meanings
     ascribed to them in the First Day Declaration.
3
     Although Exhibit A and Exhibit B hereto are substantially complete, due to the breadth of issues confronting
     the Debtors in the normal operation of their businesses, the Debtors may have inadvertently omitted one or more
     Ordinary Course Professionals. Further, the Debtors may require the services of additional Ordinary Course

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continue employing such Ordinary Course Professionals in the same manner and for the same

purposes as the Ordinary Course Professionals were retained before the Petition Date. In the past,

the Ordinary Course Professionals have rendered services relating to such diverse subjects as

litigation, financial advisory, public affairs and lobbying, public relations, patient safety,

governmental investigations, insurance, transactional work, and consulting, as well as other

services for the Debtors in relation to issues that have a direct and significant impact on the

Debtors’ day-to-day operations.

       10.      The Debtors submit that the proposed employment of the Ordinary Course

Professionals and the payment of monthly compensation on the basis set forth in

the OCP Compensation Procedures (as defined below) are in the best interests of the Debtors, their

estates, and their creditors. The Ordinary Course Professionals have a great deal of background

knowledge, expertise, and familiarity with the Debtors and their operations. Thus, the Debtors

believe that the continued employment of the Ordinary Course Professionals, many of whom are

already familiar with the Debtors’ businesses and affairs, is necessary to avoid disruption of

the Debtors’ normal business operations.

       11.      Furthermore, the relief requested would save the estates the substantial expense

associated with applying for separate court approval for the employment of each professional. The

requested relief also would avoid the incurrence of substantial additional fees relating to the

preparation and prosecution of fee applications. Likewise, the OCP Compensation Procedures

will relieve the Court and the Office of the United States Trustee for the Southern District of Texas




   Professionals while these chapter 11 cases are active. As the Debtors retain additional Ordinary Course
   Professionals during these chapter 11 cases, such professionals would comply with the practices and requirements
   set forth herein and the Debtors shall file a notice listing those Ordinary Course Professionals to be added to
   the Ordinary Course Professionals Lists.

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(the “U.S. Trustee”) of the burden of reviewing numerous fee applications involving relatively

small amounts of fees and expenses.

       12.     Accordingly, the Debtors propose that the payment of compensation and

reimbursement of expenses of the Ordinary Course Professionals be structured in accordance with

the terms and conditions set forth in Exhibit 1 to the Order (the “OCP Compensation Procedures”),

incorporated herein by reference.

                                          Basis for Relief

       13.     Section 327 of the Bankruptcy Code requires court approval for the employment of

“professional persons” retained to represent or perform services of the estate. 11 U.S.C. § 327. In

determining whether an entity is a “professional” within the meaning of section 327 of

the Bankruptcy Code and, therefore, whether the entity must be retained by express approval of

the court, courts generally consider whether such entity is involved in the debtor’s actual

restructuring effort, rather than the debtor’s ongoing business operations. See, e.g., In re Cyrus II

P’ship, No. 05-39857, 2008 WL 3003824 at *2–3 (Bankr. S.D. Tex. July 31, 2008); In re Lowry

Graphics, Inc., 86 B.R. 74, 78 (Bankr. S.D. Tex. 1988); Comm. of Asbestos-Related Litigants v.

Johns-Manville Corp. (In re Johns-Manville Corp.), 60 B.R. 612, 619 (Bankr. S.D.N.Y. 1986)

(“[T]he phrase ‘professional persons,’ as used in § 327(a), is a term of art reserved for those

persons who play an intimate role in the reorganization of a debtor’s estate.”);

see also 11 U.S.C. § 363(c) (permitting the debtors to “enter into transactions . . . in the ordinary

course of business, without notice or a hearing”). In making this determination, courts often

consider the following factors:

       (a)     whether the entity controls, manages, administers, invests, purchases or sells assets
               that are significant to the debtor’s reorganization;

       (b)     whether the entity is involved in negotiating the terms of a plan of reorganization;


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        (c)     whether the entity is directly related to the type of work carried out by the debtor
                or to the routine maintenance of the debtor’s business operations;

        (d)     whether the entity is given discretion or autonomy to exercise his or her own
                professional judgment in some part of the administration of the debtor’s estate;

        (e)     the extent of the entity’s involvement in the administration of the debtor’s estate;
                and

        (f)     whether the entity’s services involve some degree of special knowledge or skill,
                such that it can be considered a “professional” within the ordinary meaning of the
                term.

See, e.g., In re First Merchants Acceptance Corp., No. 97-150 JJF, 1997 WL 873551, at *3 (D.

Del. Dec. 15, 1997) (listing factors); In re Sieling Assocs. Ltd. P’ship, 128 B.R. 721, 723 (Bankr.

E.D. Va. 1991) (authorizing the debtor to retain an environmental consultant in the ordinary course

of business); In re Riker Indus., Inc., 122 B.R. 964, 973 (Bankr. N.D. Ohio 1990) (not requiring

approval, under section 327 of the Bankruptcy Code of the fees of a management and consulting

firm that performed only “routine administrative functions” and whose “services were not central

to [the] bankruptcy case”); In re ABC Dentistry, P.A., No. 18-3205, 2019 WL 913356, at *9

(Bankr. S.D. Tex. Feb. 21, 2019) (finding that professionals not employed as estate or committee

professionals are not subject to section 327 or section 330 of the Bankruptcy Code). The foregoing

factors must be considered in their totality when determining whether an entity is a “professional”

within the meaning of section 327 of the Bankruptcy Code. See First Merchs., No. 97-1500, 1997

WL 873551, at *3 (“In applying these factors, the Court stresses that no one factor is dispositive

and that the factors should be weighed against each other and considered in toto.”).

        14.     Additionally, section 327(e) of the Bankruptcy Code provides that “[t]he trustee,

with the court’s approval, may employ, for a specified purpose, other than to represent the trustee

in conducting a case, an attorney that has represented the debtor, if in the best interest of the estate,




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and if such attorney does not represent or hold any interest adverse to the debtor or to the estate

with respect to the matter on which such attorney is to be employed.” 11 U.S.C. § 327(e).

       15.     Finally, section 105(a) of the Bankruptcy Code confers the Court with broad

equitable powers to “issue any order, process, or judgment that is necessary or appropriate to carry

out the provisions of this title.” 11 U.S.C. § 105(a). Accordingly, the Court has expansive

equitable powers to fashion any order or decree that is in the interest of preserving or protecting

the value of the Debtors’ assets. See In re Young, 416 F. App’x 392, 398 (5th Cir. 2011)

(recognizing that “[s]ection 105(a) of Title 11 permits the bankruptcy court to exercise broad

authority”); In re Combustion Eng’g, Inc., 391 F.3d 190, 236 (3d Cir. 2004) (noting that

section 105 of the Bankruptcy Code “has been construed to give a bankruptcy court ‘broad

authority’ to provide equitable relief appropriate to assure the orderly conduct of reorganization

proceedings”) (citing U.S. v. Energy Res. Co., 495 U.S. 545, 549 (1990)); In re Nixon, 404 F.

App’x 575, 578 (3d Cir. 2010) (“It is well settled that the court’s power under § 105(a) is broad.”)

(citation omitted); In re Trevino, 599 B.R. 526, 542–43 (Bankr. S.D. Tex. 2019) (noting that the

bankruptcy court has “broad authority” under section 105(a) of the Bankruptcy Code); In re

Padilla, 379 B.R. 643, 667 (Bankr. S.D. Tex. 2007) (“Section 105(a) gives bankruptcy courts

broad authority to take actions necessary and appropriate for administering and enforcing

the Bankruptcy Code and . . . ‘authorizes a bankruptcy court to fashion such orders as are necessary

to further the purposes of the substantive provisions of the Bankruptcy Code.’”) (citations omitted).

       16.     Upon consideration of the above-listed factors, and because the Ordinary Course

Professionals will not be involved in the administration of these chapter 11 cases, the Debtors do

not believe that the Ordinary Course Professionals are “professionals” requiring formal retention

approved by the Court under section 327(a) of the Bankruptcy Code. Instead, the Ordinary Course



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Professionals would provide services in connection with the Debtors’ ongoing business operations,

which services are ordinarily provided by non-bankruptcy professionals. Nevertheless, to provide

clarity and an opportunity for oversight, the Debtors seek the relief requested herein to establish

definitive mechanisms for the retention and payment of the Ordinary Course Professionals in

accordance with the Compensation Procedures and, thereby, avoid any subsequent controversy

with respect thereto.

       17.     The Debtors represent that (a) the retention of the Ordinary Course Professionals is

necessary for the day-to-day operations of the Debtors’ businesses, (b) expenses for the Ordinary

Course Professionals will be monitored, and (c) the Ordinary Course Professionals will not

perform substantial bankruptcy-related services without filing an application with the Court for

separate retention as a non-Ordinary Course Professional.

       18.     The Debtors and their estates will be well-served by continued retention of

the Ordinary Course Professionals because of their established relationships with the Debtors and

understanding of the Debtors and their operations and legal issues. In light of the large number of

Ordinary Course Professionals and the significant costs associated with the preparation of retention

applications under sections 327, 328, and 330 of the Bankruptcy Code for Ordinary Course

Professionals who would receive relatively modest fees, it would be impractical and inefficient for

the Debtors and their legal advisors to prepare and submit individual applications and proposed

retention orders for each Ordinary Course Professional. Therefore, the Debtors believe that it is

in the best interests of the Debtors, their estates and creditors, and all parties in interest to retain

and compensate the Ordinary Course Professionals in accordance with the Compensation

Procedures and, thereby, avoid any disruption in the professional services that are required for the

day-to-day operation of the Debtors’ businesses.



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       19.     Although certain of the Ordinary Course Professionals may hold unsecured claims

against the Debtors for prepetition services rendered to the Debtors, the Debtors do not believe

that any Ordinary Course Professional hold interests materially adverse to the Debtors, their estates

or creditors, or other parties in interest with respect to the matters for which they are to be

employed, and thus, all of the Ordinary Course Professionals that the Debtors propose to retain

meet the applicable retention requirements under section 327(e) of the Bankruptcy Code. In any

event, the Compensation Procedures include a requirement that each Ordinary Course Professional

file a Declaration of Disinterestedness and be subject to a reasonable objection period before such

Ordinary Course Professional can be retained and compensated. By this Motion, the Debtors are

not requesting authority to pay prepetition amounts owed to Ordinary Course Professionals.

    Compliance with Bankruptcy Rule 6004(a) and Waiver of Bankruptcy Rule 6004(h)

       20.     To implement successfully the relief sought herein, the Debtors request that

the Court find that notice of the Motion is adequate under Bankruptcy Rule 6004(a) under the

circumstances. The Debtors also request that, to the extent applicable to the relief requested in

this Motion, the Court waive the stay imposed by Bankruptcy Rule 6004(h), which provides that

“[a]n order authorizing the use, sale, or lease of property other than cash collateral is stayed until

the expiration of 14 days after entry of the order, unless the court orders otherwise.” Fed. R. Bankr.

P. 6004(h). As described above, the relief that the Debtors seek in this Motion is necessary for

the Debtors to operate their businesses without interruption and to preserve value for their estates

and economic stakeholders. Accordingly, the Debtors respectfully submit that ample cause exists

to justify the (a) finding that the notice requirements under Bankruptcy Rule 6004(a) have been

satisfied and (b) waiving of the 14-day stay imposed by Bankruptcy Rule 6004(h), as the exigent

nature of the relief sought herein justifies immediate relief.



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                                       Reservation of Rights

        21.     Nothing contained herein or any actions taken pursuant to the relief requested in

this Motion is intended or shall be construed as (a) an admission as to the amount of, basis for, or

validity of any claim against a Debtor entity under the Bankruptcy Code or other applicable

nonbankruptcy law, (b) a waiver of the Debtors’ or any other party in interest’s right to dispute

any claim on any grounds, (c) a promise or requirement to pay any claim, (d) an implication or

admission that any particular claim is of a type specified or defined in this Motion or any order

granting the relief requested by this Motion or a finding that any particular claim is

an administrative expense claim or other priority claim, (e) a request or authorization to assume,

adopt, or reject any agreement, contract, or lease pursuant to section 365 of the Bankruptcy Code,

(f) an admission as to the validity, priority, enforceability, or perfection of any lien on, security

interest in, or other encumbrance on property of the Debtors’ estates, (g) a waiver or limitation of

the Debtors’ or any other party in interest’s rights under the Bankruptcy Code or any other

applicable law, or (h) a concession by the Debtors that any liens (contractual, common law,

statutory, or otherwise) that may be satisfied pursuant to the relief requested in this Motion are

valid, and the rights of all parties in interest are expressly reserved to contest the extent, validity,

or perfection or seek avoidance of all such liens. The Debtors also expressly reserve their rights

to contest any claims related to the Ordinary Course Professionals and the compensation thereof

under applicable bankruptcy and non-bankruptcy law. Likewise, if the Court grants the relief

sought herein, any payment or transfer made pursuant to the Court’s order is not intended, and

should not be construed as, an admission as to the amount, priority, character, or validity of any

claim or a waiver of the Debtors’ or any other party in interest’s rights to subsequently dispute

such claim.



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                                               Notice

       22.     Notice of this Motion will be provided to the following parties or their respective

counsel: (a) the U.S. Trustee; (b) the holders of the 30 largest unsecured claims against the Debtors

(on a consolidated basis); (c) counsel to the DIP Lenders; (d) counsel to the Ad Hoc Group;

(e) counsel to the Prepetition First Lien Administrative Agent; (f) counsel to the Prepetition

Second Lien Administrative Agent; (g) the Ordinary Course Professionals, (h) the Office of the

United States Attorney for the Southern District of Texas; (i) the state attorneys general for states

in which the Debtors conduct business; (j) the Internal Revenue Service; (k) the Securities and

Exchange Commission; and (l) any party identified in section E of the Procedures for Complex

Cases in the Southern District of Texas (collectively, the “Notice Parties”). A copy of this Motion

and the Order approving it will also be made available on the Debtors’ case information website

located at https://dm.epiq11.com/Wellpath. Based on the circumstances surrounding this Motion

and the nature of the relief requested, the Debtors respectfully submit that no other or further notice

is required.

                            [Remainder of page intentionally left blank]




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       WHEREFORE, the Debtors respectfully request that the Court enter the Order,

substantially in the form annexed hereto, granting the relief requested herein and such other and

further relief as the Court deems appropriate under the circumstances.


 Dated: November 21, 2024         /s/ Marcus A. Helt
 Dallas, Texas                    Marcus A. Helt (Texas Bar #24052187)
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                                  Dallas, Texas 75201-1664
                                  Telephone:     (214) 295-8000
                                  Facsimile:     (972) 232-3098
                                  Email:        mhelt@mwe.com

                                  -and-

                                  Felicia Gerber Perlman (admitted pro hac vice)
                                  Bradley Thomas Giordano (admitted pro hac vice)
                                  Jake Jumbeck (admitted pro hac vice)
                                  Carole Wurzelbacher (admitted pro hac vice)
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                                  -and-

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                                  Email:        sszanzer@mwe.com


                                  Proposed Counsel to the Debtors and Debtors in Possession
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                                   Certificate of Service

       I certify that, on November 21, 2024, I caused a copy of the foregoing document to be
served via the Electronic Case Filing System for the United States Bankruptcy Court for the
Southern District of Texas.

                                          /s/ Marcus A. Helt
                                          Marcus A. Helt




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                                                EXHIBIT A

                                             Tier 1 OCP List

Ordinary Course Professional                                Types of Matters Typically Handled
Barnes & Thornburg LLP                                      eDiscovery Matters
Deloitte & Touche LLP                                       Financial Auditor
Gordon Rees Scully Mansukhani LLP DBA Gordon & Rees LLP     Professional Liability Litigation
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                                                   EXHIBIT B

                                               Tier 2 OCPs List


           Ordinary Course Professional                          Types of Matters Typically Handled
                     Barclay Damon, LLP                                  Professional Liability Litigation
                      Bertling Law Group                                 Professional Liability Litigation
          Billing, Cochran, Lyles, Mauro & Ramsey PA                     Professional Liability Litigation
                       Burns White LLC                                   Professional Liability Litigation
Cardinale Fayard a Prof Law Corp DBA Medical Defense Law Group           Professional Liability Litigation
                     Cassiday Schade LLP                                 Professional Liability Litigation
     Chapman and Associates PC DBA Chapman Law Group                     Professional Liability Litigation
               Copeland Stair Kingma Lovell LLP                          Professional Liability Litigation
              Foley, Baron, Metzger & Juip, PLLC                         Professional Liability Litigation
                     Ford & Harrison, LLP                           Employee Professional Liability Litigation
                      Fox Ballard PLLC                                   Professional Liability Litigation
                      Hall & Evans LLC                                   Professional Liability Litigation
                  Hardin, Jesson & Terry PLC                             Professional Liability Litigation
                     Hutchinson Cox LLC                                  Professional Liability Litigation
                   Kopka Pinkus & Dolin PC                               Professional Liability Litigation
                  Koufman Law Group, LLC                                 Professional Liability Litigation
                      Larry S. Davis P.A                                  Transaction Advisory (Legal)
             Lewis Brisbois Bisgaard & Smith LLP                         Professional Liability Litigation
                    Morrison Mahoney LLP                                 Professional Liability Litigation
         Ogletree, Deakins, Nash, Smoak & Stewart P.C.              Employee Professional Liability Litigation
                    Park & Associates, LLC                               Professional Liability Litigation
                    Paul Frank + Collins PC                              Professional Liability Litigation
                 PricewaterhouseCoopers LLP                                  Australia Sale Auditor
         Serpe, Jones, Andrews, Callender & Bell PLLC                    Professional Liability Litigation
                      Seyfarth Shaw LLP                             Employee Professional Liability Litigation
             Struck Love Bojanowski & Acedo, PLC                         Professional Liability Litigation
           Teague, Campbell, Dennis, & Gorham, LLP                       Professional Liability Litigation
     Weber Gallagher Simpson Stapleton Fires & Newby LLP                 Professional Liability Litigation
           Wimbish Gentile McCray & Roeber PLLC                          Professional Liability Litigation
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                                                   EXHIBIT C

                                                Tier 3 OCPs List


          Ordinary Course Professional                          Types of Matters Typically Handled
                    Adams and Reese LLP                                      Contract Litigation
                        Akerman LLP                                            HIG Litigation
                       Athene Law LLP                                    California Healthcare Law
                   Ausley & McMullen, PA                                     Contract Litigation
                     Baker Donelson LLP                                Professional Liability Litigation
                    Bass Berry & Sims PLC                                   Healthcare Litigation
             Blackburn Domene & Burchett, PLLC                         Professional Liability Litigation
           Buckingham, Doolittle, & Burroughs, LLC                     Professional Liability Litigation
                  Bullivant Houser Bailey PC                           Professional Liability Litigation
       Cades Schutte A Ltd Liability Law Partnership LLP               Professional Liability Litigation
           Cassem, Tierney, Adams, Gotch & Douglas                     Professional Liability Litigation
               Cauthorn Owens & Sanders, LLP                                 Contract Litigation
                         Crowe LLC                                              Risk Auditor
                          Dinse P.C.                                   Professional Liability Litigation
                   Driggers Law Firm LLC                               Professional Liability Litigation
                   Eccleston and Wolf, P.C.                            Professional Liability Litigation
                      Faraci Leasure LLC                               Professional Liability Litigation
                    Feldesman Leifer LLP                                    Healthcare Litigation
                          Frilot LLC                                   Professional Liability Litigation
                     Gold & Ferrante, PC                               Professional Liability Litigation
                    Hall Booth Smith, P.C.                             Professional Liability Litigation
               Hall Prangle & Schoonveld, LLC                          Professional Liability Litigation
             Hancock, Daniel, Johnson & Nagle PC                          Patient Safety Litigation
                    Holland & Knight LLP                                  Contract Review Services
                        Honigman LLP                                   Government Litigation Matters
                     Husch Blackwell LLP                             Contract and Transaction Litigation
   Jerome M Varanini DBA Law Offices of Jerome M Varanini              Professional Liability Litigation
Johnson Hanan Vosler Hawthorne & Snider DBA Johnson and Hanan          Professional Liability Litigation
                                PC
                     King & Spalding LLP                              Government Investigation Matters
                    Kummerlen Law PLLC                                 Professional Liability Litigation
                       Legal Med., LLC                                      Healthcare Litigation
          Lewis Thomason King Krieg & Waldrop P.C.                     Professional Liability Litigation
                     Littler Mendelson, PC                                 Employment Litigation
         Lyons, Brandt, Cook & Hiramatsu, AAL, ALC                     Professional Liability Litigation
           Marks, ONeil, OBrien, Doherty & Kelly PC                    Professional Liability Litigation




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Matthew A Kaufman PLC DBA The Kaufman Law Firm              Professional Liability Litigation
 Matthews, Shiels, Pearce, Knott, Eden, & Davis, LLP        Professional Liability Litigation
               Meridian Lawyers LTD                         Professional Liability Litigation
          Meyer Fluegge & Tenney Inc PS                     Professional Liability Litigation
             Morgan Brown & Joy LLP                             Employment Litigation
   Murtagh, Cossu, Venditti & Castro-Blanco LLP             Professional Liability Litigation
 Parker Poe Adams & Bernstein LLP DBA Parker Poe            Government Litigation Matters
             Parks Chesin & Walbert PC                      Government Contract Litigation
        Pettit Kohn Ingrassia Lutz & Dolin PC                       HIG Litigation
             Property Valuation Services                         Property Tax Matters
                Quarles & Brady LLP                          Pharmacy Litigation Matters
         Quattlebaum, Grooms & Tull PLLC                    Professional Liability Litigation
       Quintairos, Prieto, Wood & Boyer, P.A.               Professional Liability Litigation
                  Reed Smith LLP                             Insurance Coverage Advisory
                  Reese Henry LLP                               Tax Consulting Matters
        Sandberg Phoenix & von Gontard P.C.                 Professional Liability Litigation
           Sanders Warren & Russell LLP                     Professional Liability Litigation
               Scofield & Rivera, LLC                       Professional Liability Litigation
        Sherrard Roe Voigt & Harbison PLC                   Government Litigation Matters
               Strategic Risk Solutions                     Captive Administration Matters
          Sweeny, Wingate, & Barrow, P.A.                   Professional Liability Litigation
           Thompson Bowie & Hatch LLC                       Professional Liability Litigation
           Walton Management Company                          WOTC Credit Tax Matters
            Wheeler Trigg ODonnell LLP                     Government Investigation Matters
          Whiteford Taylor & Preston LLP                    Professional Liability Litigation
           Womble Bond Dickinson LLP                       Government Investigation Matters




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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION


In re:                                                              Chapter 11

WELLPATH HOLDINGS, INC., et al.,1                                   Case No. 24-90533 (ARP)

                                                                    Jointly Administered
                                      Debtors.
                                                                    Re: Docket No.

             ORDER APPROVING PROCEDURES FOR THE RETENTION
           AND COMPENSATION OF ORDINARY COURSE PROFESSIONALS

         Upon the motion (the “Motion”)2 of the above-captioned debtors and debtors in possession

(collectively, the “Debtors”) for entry of an order approving procedures for the retention and

compensation of Ordinary Course Professionals, as more fully described in the Motion; and

the Court having jurisdiction to consider the Motion and the relief requested therein pursuant to

28 U.S.C. § 1334 and the Order of Reference to Bankruptcy Judges, General Order 2012-6 (S.D.

Tex. May 24, 2012) (Hinojosa, C.J.); and the Court having found that this is a core proceeding

pursuant to 28 U.S.C. § 157; and the Court having found that it may enter a final order consistent

with Article III of the United States Constitution; and the Court having found that venue of

the chapter 11 cases and related proceedings being proper in this district pursuant to

28 U.S.C. §§ 1408 and 1409; and due and proper notice of the Motion having been provided to

the Notice Parties, such notice having been adequate and appropriate under the circumstances, and

it appearing that no other or further notice need be provided; and the Court having reviewed and

considered the Motion; and the Court having held a hearing, if necessary, to consider the relief


1
    A complete list of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’ claims
    and noticing agent at https://dm.epiq11.com/Wellpath. The Debtors’ service address for these chapter 11 cases
    is 3340 Perimeter Hill Drive, Nashville, Tennessee 37211.
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    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion.
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requested in the Motion on a final basis (the “Hearing”); and the Court having determined that the

legal and factual bases set forth in the Motion and at the Hearing, if any, establish just cause for

the relief granted herein; and the Court having found that the relief requested in the Motion is in

the best interests of the Debtors, their estates, their creditors, and other parties in interest; and all

objections and reservations of rights filed or asserted in respect of the Motion, if any, having been

withdrawn, resolved, or overruled; and upon all of the proceedings had before the Court; and after

due deliberation and sufficient cause appearing therefor, it is hereby

        ORDERED, ADJUDGED, AND DECREED THAT:

        1.      To the extent deemed necessary or appropriate by the Debtors, the Debtors are

authorized, but not directed, in their sole discretion to employ the Ordinary Course Professionals

and to compensate such Ordinary Course Professionals pursuant to the terms and conditions set

forth in Exhibit 1 hereto (the “OCP Compensation Procedures”).

        2.      To the extent that any agreement between the Debtors and an Ordinary Course

Professional provides for the indemnification by the Debtors of such Ordinary Course Professional

in connection with the services that are the subject of the Motion (each such agreement,

an “Ordinary Course Professional Agreement”), such indemnification provisions are approved

subject to the following modifications, applicable during the pendency of these chapter 11 cases:

        a.      The Ordinary Course Professional shall not be entitled to indemnification,
                contribution, or reimbursement pursuant to the Ordinary Course Professional
                Agreement for services other than the services provided under the Ordinary Course
                Professional Agreement, unless such services and the indemnification,
                contribution, or reimbursement are approved by the Court.

        b.      Notwithstanding anything to the contrary in the Ordinary Course Professional
                Agreement, the Debtors shall have no obligation to indemnify the Ordinary Course
                Professional, or provide contribution or reimbursement to the Ordinary Course
                Professional, for any claim or expense that is either: (i) judicially determined (the
                determination having become final no longer subject to appeal) to have arisen from
                the Ordinary Course Professional’s gross negligence, wilful misconduct, or fraud;
                (ii) for a contractual dispute in which the Debtors allege the breach of the Ordinary

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               Course Professional’s contractual obligations if the Court determines that
               indemnification, contribution, or reimbursement would not be permissible under
               applicable law; (iii) of any type for which the Court determines that
               indemnification, contribution, or reimbursement would not be permissible; or
               (iv) settled prior to a judicial determination under (i) or (ii), but determined by
               the Court, after notice and a hearing, to be a claim or expense for which
               the Ordinary Course Professional should not receive indemnity, contribution, or
               reimbursement under the terms of the Ordinary Course Professional Agreement as
               modified by the Court.

       c.      If, before the earlier of (i) the entry of an order confirming a chapter 11 plan in
               these chapter 11 cases (that order having become a final order no longer subject to
               appeal) or (ii) the entry of an order closing these chapter 11 cases, the Ordinary
               Course Professional believes that it is entitled to the payment of any amounts by
               the Debtors on account of the Debtors’ indemnification, contribution, and/or
               reimbursement obligations under the Ordinary Course Professional Agreement (as
               modified by this Order), including the advancement of defense costs, the Ordinary
               Course Professional must file an application therefor with the Court, and
               the Debtors may not pay any such amounts to the Ordinary Course Professional
               before the entry of an order by the Court approving the payment. All parties in
               interest shall retain the right to object to any demand by the Ordinary Course
               Professional for indemnification, contribution, or reimbursement. In the event that
               the Ordinary Course Professional seeks reimbursement from the Debtors for
               attorneys’ fees and expenses in connection with the payment of an indemnity claim
               pursuant to the Ordinary Course Professional Agreement, the invoices and
               supporting time records for the attorneys’ fees and expenses shall be included in
               the Ordinary Course Professional’s own applications, both interim and final, but
               determined by the Court after notice and a hearing.

       3.      The Debtors’ right to dispute any invoices shall not be affected or prejudiced in any

manner by the relief granted in this Order.

       4.      This Order shall not apply to any professional retained by the Debtors pursuant to

a separate order of the Court.

       5.      This Order is without prejudice to the Debtors’ right to request modification of

the OCP Monthly Caps (as defined in the OCP Compensation Procedures).

       6.      Nothing in this Order shall preclude an Ordinary Course Professional from

subsequently seeking retention as an estate professional under sections 327 or 328 of

the Bankruptcy Code.


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       7.      Nothing in this Order or any action taken by the Debtors in furtherance of the

implementation hereof shall be deemed to constitute an assumption or rejection of any executory

contract or unexpired lease pursuant to section 365 of the Bankruptcy Code, and all of the Debtors’

rights with respect to such matters are expressly reserved.

       8.      Notwithstanding the relief granted herein and any actions taken hereunder, nothing

contained herein shall (a) create, nor is it intended to create, any rights in favor of, or enhance the

status of any claim held by, any person or entity or (b) be deemed to convert the priority of any

claim from a prepetition claim into an administrative expense claim.

       9.      Notwithstanding the relief granted herein and any actions taken pursuant to such

relief, nothing in this Order shall be deemed (a) an admission as to the amount of, basis for, or

validity of any claim against a Debtor entity under the Bankruptcy Code or other applicable

nonbankruptcy law, (b) a waiver of the Debtors’ or any other party in interest’s right to dispute

any claim on any grounds, (c) a promise or requirement to pay any claim, (d) an implication or

admission that any particular claim is of a type specified or defined in the Motion or any order

granting the relief requested by the Motion or a finding that any particular claim is

an administrative expense claim or other priority claim, (e) a request or authorization to assume,

adopt, or reject any agreement, contract, or lease pursuant to section 365 of the Bankruptcy Code,

(f) an admission as to the validity, priority, enforceability, or perfection of any lien on, security

interest in, or other encumbrance on property of the Debtors’ estates, (g) a waiver or limitation of

the Debtors’ or any other party in interest’s rights under the Bankruptcy Code or any other

applicable law, or (h) a concession by the Debtors that any liens (contractual, common law,

statutory, or otherwise) that may be satisfied pursuant to the relief requested in the Motion are




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valid, and the rights of all parties in interest are expressly reserved to contest the extent, validity,

or perfection or seek avoidance of all such liens.

         10.    Notwithstanding anything to the contrary in this Order, in the event of any conflict

or inconsistency between the terms of this Order and the terms of any order of this Court approving

the post-petition secured debtor-in-possession financing facility and the use of cash collateral

(any such order, a “Financing Order”), including any documentation with respect to such financing

and any budget or cash flow forecasts in connection therewith, the terms of the applicable

Financing Order (including any documentation with respect to such financing and any budget or

cash flow forecasts in connection therewith) shall govern. Nothing herein is intended to modify,

alter, or waive, in any way, any terms, provisions, requirements, or restrictions of any Financing

Order.

         11.    Any Bankruptcy Rule or Bankruptcy Local Rule that might otherwise delay the

effectiveness of this Order is hereby waived, and the terms and conditions of this Order shall be

effective and enforceable immediately upon its entry.

         12.    The Debtors are authorized to take any action necessary or appropriate to

implement and effectuate the terms of, and the relief granted in, this Order without seeking further

order of the Court.

         13.    The Court retains exclusive jurisdiction over any matter arising from or related to

the implementation, interpretation, and enforcement of this Order.


Dated:        , 2024
           Houston, Texas
                                               UNITED STATES BANKRUPTCY JUDGE




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                                             Exhibit 1

                                OCP Compensation Procedures

         (a)     Each Ordinary Course Professional shall provide the Debtors’ attorneys with a
declaration (the “Ordinary Course Professional Declaration”), substantially in the form attached
hereto as Exhibit A, certifying that the Ordinary Course Professional does not represent or hold
any interest adverse to the Debtors or their estates with respect to the matter on which the Ordinary
Course Professional is to be employed, and shall periodically update such Ordinary Course
Professional Declaration to the extent necessary to reflect new facts or circumstances relevant to
their retention.

        (b)   The Debtors’ attorneys shall promptly file each Ordinary Course Professional
Declaration with the Court and serve it on the following parties (collectively, the “Reviewing
Parties”):

       (i)     the U.S. Trustee; 515 Rusk St., Suite 3516, Houston, Texas 77002 (Attn: Susan
               Hersh (Susan.Hersh@usdoj.gov) and Ha Nguyen (Ha.Nguyen@usdoj.gov));

       (ii)    Akin Gump Strauss Hauer & Feld LLP, 2001 K Street, N.W., Washington, DC
               20006 (Attn: Scott Alberino (salberino@akingump.com) and Kate Doorley
               (kdoorley@akingump.com)); and

       (iii)   counsel to any statutory committee appointed in these chapter 11 cases.

        (c)     The Reviewing Parties shall then have 10 days following such service
(the “Objection Deadline”) to notify the Debtors, the Debtors’ attorneys, the other Reviewing
Parties, and the applicable Ordinary Course Professional in writing of any objection to the retention
stemming from the contents of the Ordinary Course Professional Declaration. The Debtors may
extend the Objection Deadline as to any Reviewing Party without further order of the Court.

       (d)     If no objections are received by the Debtors by the Objection Deadline in
accordance with paragraph (c) above, retention of the Ordinary Course Professional shall be
deemed approved and effective as of the later of the Petition Date or the date the Ordinary Course
Professional commenced work.

        (e)     If an objection is asserted by a Reviewing Party in accordance with paragraph
(c) above and such objection is not resolved within 10 days of the Objection Deadline
(the “Resolution Deadline”), the Debtors shall schedule the matter for a hearing before the Court
to be held on the next regularly scheduled hearing date that is at least 14 days from the Resolution
Deadline, or such other date that may be agreeable to the applicable Ordinary Course Professional,
the Debtors, and the objecting Reviewing Party. No Ordinary Course Professional shall be paid
any amounts for invoiced fees or expense reimbursement until the Ordinary Course Professional
Declaration has been filed with the Court and (i) the Objection Deadline has passed with no
objection asserted in accordance with paragraph (c) above or (ii) if an objection is asserted in
accordance with paragraph (c) above, until such objection is resolved or upon order of the Court.
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        (f)     Provided that the Ordinary Course Professional’s retention has been approved in
accordance with the above procedures, the Debtors shall be permitted to pay each Ordinary Course
Professional, without further application to the Court and upon the submission to, and approval
by, the Debtors of appropriate invoices setting forth in reasonable detail the nature of the services
rendered and disbursements incurred, 100% of the post-petition fees and disbursements incurred;
provided, that, prior to the confirmation of a plan in these chapter 11 cases, (i) the fees of each
Ordinary Course Professional set forth on the Tier 1 OCP List attached to the Motion as Exhibit A,
excluding costs and reimbursable expenses, may not exceed $200,000 per month on average over
a rolling three-month period (the “Tier 1 OCP Monthly Cap”), (ii) the fees of each Ordinary Course
Professional set forth on the Tier 2 OCP List attached to the Motion as Exhibit B, excluding costs
and reimbursable expenses, may not exceed $50,000 per month on average over a rolling
three-month period (the “Tier 2 OCP Monthly Cap”), and (iii) the fees of each Ordinary Course
Professional set forth on the Tier 3 OCP List attached to the Motion as Exhibit C, excluding costs
and reimbursable expenses, may not exceed $20,000 per month on average over rolling
three-month period (the “Tier 3 OCP Monthly Cap” and, together with the Tier 1 OCP Monthly
Cap and the Tier 2 OCP Monthly Cap, the “OCP Monthly Caps”). The Debtors may increase the
OCP Monthly Caps for any Ordinary Course Professional with the consent (email being sufficient)
of the Reviewing Parties. Absent consent, the Debtors shall file a motion seeking Court authority
to increase the applicable OCP Monthly Cap.

       (g)      Notwithstanding any professional being designated as an Ordinary Course
Professional, the Debtors may choose to file a separate application to employ any Ordinary Course
Professional pursuant to section 327 or 328 of the Bankruptcy Code in their discretion if
the Debtors determine a separate retention application is advisable or appropriate. To the extent
an Ordinary Course Professional seeks compensation in excess of its applicable OCP Monthly Cap
(the “Excess Fees”), the Ordinary Course Professional shall file with the Court a notice of fees in
excess of the applicable cap (the “Notice of Excess Fees”) and an invoice setting forth, in
reasonable detail, the nature of the services rendered, and disbursements actually incurred.
The Reviewing Parties shall then have 14 days to file an objection to the Notice of Excess Fees
with the Court. If no objection is filed after 14 days, the Excess Fees shall be deemed approved,
and the Ordinary Course Professional may be paid 100% of its fees and 100% of its expenses
without the need to file a fee application. If an objection is timely filed and such objection cannot
be resolved within 21 days, the Debtors will schedule the matter for a hearing before the Court.

        (h)    Unless a chapter 11 plan has been confirmed, at three-month intervals during the
pendency of these chapter 11 cases (each, a “Quarter”), beginning with the three-month interval
which commences on the Petition Date, the Debtors shall file with the Court and serve on
the Reviewing Parties, no later than 30 days after the end of such Quarter, a statement that shall
include the following information for each Ordinary Course Professional: (i) the name of
the Ordinary Course Professional; (ii) the aggregate amounts paid as compensation for services
rendered and reimbursement of expenses incurred by that Ordinary Course Professional during the
reported Quarter; (iii) all post-petition payments made to that Ordinary Course Professional
through the reported Quarter; and (iv) a general description of the services rendered by
that Ordinary Course Professional. The initial Ordinary Course Professional statement shall cover
the period beginning on the Petition Date and ending on January 31, 2025 and shall be filed no
later than February 28, 2025.

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        (i)    The Debtors reserve the right to retain additional Ordinary Course Professionals
from time to time during these chapter 11 cases; provided, that such Ordinary Course Professionals
shall comply with these procedures.

       (j)     If the Debtors seek to retain an Ordinary Course Professional not already listed on
the Ordinary Course Professionals List during these chapter 11 cases, the Debtors will file with
the Court and serve upon the Reviewing Parties a notice listing those Ordinary Course
Professionals to be added to the Ordinary Course Professionals List (the “Supplemental Notice of
Ordinary Course Professionals”), along with the attendant Ordinary Course Professionals
Declaration.

        (k)    If no objection to a Supplemental Notice of Ordinary Course Professionals is filed
with the Court and served upon the Debtors’ counsel as set forth above, so as to be actually
received within 10 days after the service thereof, the list will be deemed approved by the Court in
accordance with the provisions of this Motion and without the need for a hearing or further Court
order. Any Ordinary Course Professionals retained pursuant to the Supplemental Notice of
Ordinary Course Professionals will be paid in accordance with the terms and conditions set forth
in the paragraphs above.




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                              Exhibit A

               Ordinary Course Professional Declaration
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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION


In re:                                                             Chapter 11

WELLPATH HOLDINGS, INC., et al.,1                                  Case No. 24-90533 (ARP)

                                                                   Jointly Administered
                                      Debtors.
                                                                   Re: Docket No.

    DECLARATION OF DISINTERESTEDNESS OF [ENTITY] PURSUANT TO
   THE ORDER AUTHORIZING THE RETENTION AND COMPENSATION OF
CERTAIN PROFESSIONALS UTILIZED IN THE ORDINARY COURSE OF BUSINESS

         I,              , declare under penalty of perjury:

         1.      I am a [Position] of [Firm], located at [Street, City, State, Zip Code] (the “Firm”).

         2.      Wellpath Holdings, Inc. and certain of its affiliates (collectively, the “Debtors”),

each of which is a debtor and debtor in possession in the above-captioned chapter 11 cases

(the “Chapter 11 Cases”), have requested that the Firm provide [specific description of services]

to the Debtors, and the Firm has consented to provide those services.

         3.      Pursuant to rule 2014 of the Federal Rules of Bankruptcy Procedure, the Firm

hereby confirms that, to the best of its knowledge and belief, the Firm may have performed services

in the past, may currently perform services, and may perform services in the future, in matters

unrelated to these chapter 11 cases, for persons that are claimants or other parties in interest in

these chapter 11 cases. The Firm does not perform services for any such person in connection

with these chapter 11 cases.




1
    A complete list of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’ claims
    and noticing agent at https://dm.epiq11.com/Wellpath. The Debtors’ service address for these chapter 11 cases
    is 3340 Perimeter Hill Drive, Nashville, Tennessee 37211.
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        4.     Neither I nor [any partner or associate of the Firm], insofar as I have been able to

ascertain, holds, or represents any interest adverse to the Debtors or their estates with respect to

the matters on which the Firm is to be employed.

        5.     Neither I nor [any partner or associate of the Firm] has agreed to share or will share

any portion of the compensation to be received from the Debtors with any person other than

partners and associates of the Firm.

        6.     The Debtors owe the Firm $                     for prepetition services.

        7.     I further understand that this Declaration will not suffice as the Firm’s proof of

claim against any of the Debtors.

        8.     The Firm is conducting further inquiries regarding its retention by any creditors of

the Debtors and, upon conclusion of that inquiry or at any time during the period of its

employment, if the Firm should discover any facts bearing on the matter described herein, the Firm

will supplement the information contained in this declaration.

        9.     Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury under the laws of

the United States of America that the foregoing is true and correct.

Date:


                                              [DECLARANT]




                                                 2
